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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

                            Complainant,
             v.                                               Criminal Case No.

ZACHARY REHL                                                  1:21-cr-00175-TJK-3

                            Accused


(Styled as USA v. NORDEAN incorporating cases                 Assigned to the Honorable
against four Defendants collectively)                         Timothy J. Kelly




                           SUPPLEMENT TO
                  MEMORANDUM OF LAW IN SUPPORT OF
         JONATHON MOSELEY’S CONDITIONAL MOTION TO WITHDRAW

       Comes now Jonathon Moseley as counsel for ZACHARY REHL, and provides the

following supplement to his Memorandum of Law:

       First, clearly, the unnecessarily, overly-complicated question of whether or not Zachary

Rehl has or will have an alternative attorney available to replace Jonathon Moseley, includes the

following:

       The Federal Public Defenders’ Office would need to represent (either as to whether or

alternatively when Jonathon Moseley withdraws) that they have a government-funded attorney

selected and ready, willing, and able to represent Zachary Rehl, including being able to drive 6

hours round-trip from the Washington, D.C. area (assuming that as an attorney admitted in this

Court in the District of Columbia he or she resides in or near D.C.) not counting frequent traffic

jams along I-95 from D.C. to the Philadelphia Detention Center, not counting stops for gas, food,
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or rest necessary for safe driving, and depending on scheduling issues perhaps breaking up the

trip with hotel stays part-way to be able to arrive early in the morning or return after a visit late

in the day. Merely having the availability of an attorney is not the same as an attorney able to

and willing to make trips to Philadelphia that may require 8 hour or longer round trips in bad

traffic.

           Secondly, it occurs to counsel that some of the confusion is here is the misconception that

Zachary Rehl qualified for a public defender, because Shelli Peterson from the Federal Public

Defender’s Office sponsored Philadelphia attorney Mr. Shaka Johnson as a paid, retained

attorney, who was not admitted in this Court.

           This arrangement may have confused a lot of people including Zachary Rehl’s wife into

thinking that pre-trial services had qualified Rehl for a public defender.

           Again, Shelli Peterson answered my email on September 7, 2021, asking for clarification

of her role by saying that she was only in the case to sponsor Mr. Shaka Johnson pro hac vice,

but that if Zachary Rehl wanted to apply for a government-funded attorney, he would need to fill

out the paperwork that on September 7, 2021, Shelli Peterson attached to her reply email.

           Therefore, Shelli Peterson’s accommodation of out-of-state counsel has confused people

into thinking that the Federal Public Defender’s office had already qualified Zachary Rehl in

August, when that does not appear to be the case.

           What counsel cannot understand is the origins of the idea that current counsel needs to

withdraw before the Federal Public Defender’s office can evaluate him for a public defender.

Since both retained counsel and a public defender were both on this case at the same time, it is

clearly possible for a public defender to enter his or her appearance in this case and then have

private counsel withdraw, to avoid a break in coverage.




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       Finally, unfortunately, many lay persons are confused about the withdrawal of counsel. I

have had many clients who misunderstand that an attorney cannot simply declare “I
                                                                               “I withdraw!
                                                                                  withdraw!””

       In fact more than one legal professional friend warned me, Jonathon Moseley, not to take

this cas
     casee or others without a minimum $50,000 retainer because a gigantic amount of work will

be needed through what has now been identified as a four-
                                                    four-week
                                                         week trial and the Court would be

unlikely to all
            allow
                ow me to withdraw. I have been scolded over and over by friends for getting in to

a case that I m
              may
                ay not be able to withdraw from
                                           from..

       The fact that it is up to the judge, and not the attorney, to withdraw has often caused

confusion with clients over the years.

Dated: December 12, 2021                 RESPECTFULLY SUBMITTED
                                                      SUBMITTED,




                                         Jonathon Alden Moseley, Esq.
                                         DC
                                         DCDC
                                            DC Bar No. VA005
                                         Virginia State Bar No. 41058
                                         5765
                                         5765--F
                                               F Burke Centre Parkway, PMB #337
                                         Burke, Virginia 22015
                                         Telephone: (703) 656
                                                            656--1230
                                                                 1230
                                         Contact@JonMoseley.com
                                         Moseley391@gmail.com

                          CERTIFICATE OF CONSULTATION

       Counsel for Zachary Rehl inquired of the prosecution’s position on this motion on

December 3, 2021, and the prosecution takes no opinion or position on this motion.




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                                CERTIFICATE OF SERVICE

         I hereby certify that on December 12, 2021, I electronically filed the foregoing document
with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic
filing to the following CM/ECF participant(s). From my review of the PACER / ECF docket
records for this case that the following attorneys will receive notice through the ECF system of
the U.S. District Court for the District of Columbia.

                  Mr. Luke Matthew Jones, Esq.
                  U.S. ATTORNEY'S OFFICE FOR THE DISTRICT OF COLUMBIA
                  555 Fourth Street, N.W.
                  Washington, DC 20530
                  (202) 252-7066
                  (202) 616-8470 (fax)
                  ahmed.baset@usdoj.gov

                  Mr. Jason Bradley Adam McCullough, Esq.
                  U.S. ATTORNEY'S OFFICE FOR THE DISTRICT OF COLUMBIA
                  555 4th Street, NW
                  Washington, DC 20001
                  (202) 252-7233
                  jason.mccullough2@usdoj.gov

                  Mr. James B. Nelson, Esq.
                  U.S. ATTORNEY'S OFFICE FOR THE DISTRICT OF COLUMBIA
                  555 Fourth Street NW, Room 4112
                  Washington, DC 20530
                  (202) 252-6986
                  james.nelson@usdoj.gov




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